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                                                                          10/19/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANDREA TANTAROS,

                                   Petitioner,
                                                                19-cv-7131 (ALC)
                       -against-
                                                                ORDER
 FOX NEWS CHANNEL, LLC, ET AL.,

                                   Respondents.

ANDREW L. CARTER, JR., United States District Judge:

         This Court is in receipt of Petitioner’s letter filed on October 15, 2020 requesting

clarification of the Court’s Order to Show Cause. ECF No. 78.

         Respondents’ motions to dismiss are currently stayed pending the Second Circuit’s

decision on Petitioner’s interlocutory appeal. ECF No. 72. The Order to Show Cause issued by

this Court gives the parties an opportunity to brief whether Respondents’ motions to dismiss

should remain stayed, or whether they should be dismissed without prejudice to refile once the

Second Circuit has resolved Petitioner’s interlocutory appeal.

         Petitioner is hereby ORDERED to file a reply, if any, to Respondents’ response to the

Order to Show Cause on or before November 3, 2020.

SO ORDERED.

Dated:          October 19, 2020
                New York, New York                     __________________________________
                                                             ANDREW L. CARTER, JR.
                                                             United States District Judge
